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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY
                                  CAMDEN VICINAGE

                                      :
NANCY RINALDI and WILLIAM             :
SWISHER,                              : Civil Action No.:
                                      :
Plaintiff,                            :
                                      :
             v.                       :
                                      :            NOTICE OF REMOVAL
FCA US LLC, FOX RENT A CAR, Inc., and :
ABC CORPORATIONS 1-10,                :
                                      :
Defendant.


TO:      THE HONORABLE JUDGES OF THE UNITED STATES DISTRICT COURT
         FOR THE DISTRICT OF NEW JERSEY

         Pursuant to Title 28 U.S.C. §§ 1332 and 1446, Defendant, FCA US LLC, hereby gives notice

of removal of an action filed against it in the Superior Court of New Jersey, Camden County, to the

United States District Court for the District of New Jersey. 1 In support of the removal, Defendant

respectfully offers the following:

I.       PRELIMINARY MATTERS

         1.     On or about January 18, 2022, Plaintiff commenced this personal injury action in the

Superior Court of New Jersey, Law Division, Camden County, bearing Docket Number CAM-L-

000141-22. See Copies of all pleadings (Summons and Complaint) received by FCA US as Exhibit

A. This is a product liability case involving a 2018 Jeep Wrangler vehicle, bearing VIN #



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  In no way shall this Notice of Removal be interpreted as a waiver or relinquishment of FCA US’s
right to assert defenses including, without limitation, the defenses of (i) lack of jurisdiction over
person, (ii) improper venue and/or forum non conveniens, (iii) insufficiency of process, (iv)
insufficiency of service of process, (v) improper joinder of claims and/or parties, (vi) failure to state
a claim, (vii) failure to join indispensable party(ies), or (viii) any other procedural or substantive
defense available under state or federal law.

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1C4BJWDG9JL865632, wherein plaintiff alleges defects in the design and manufacturing of the

vehicle. Id.

        2.     Removal is timely pursuant to 28 U.S.C. § 1446(b). Defendant FCA US LLC

received a copy of only the Summons and Complaint by certified mail on January 25, 2022. Id.

II.     DIVERSITY JURISDICTION EXISTS

        3.     This action is removable because this Court has original subject matter jurisdiction

over it. “[A]ny civil action brought in a State court of which the district courts of the United States

have original jurisdiction, may be removed by the defendant or the defendants, to the district court of

the United States for the district and division embracing the place where such action is pending.” 28

U.S.C. § 1441(a). “The district courts shall have original jurisdiction of all civil actions where the

matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is

between . . . citizens of different States [and/or] citizens of a State and citizens or subjects of a

foreign state.” 28 U.S.C. § 1332(a)(1), (2). In this case, Plaintiffs’ citizenship is diverse from

Defendants’ citizenship, and the amount in controversy exceeds $75,000. As such, this Court has

subject matter jurisdiction over this dispute.

A.      Plaintiffs’ Citizenship is Diverse from the Defendants’ Citizenship

        4.     Plaintiffs Nancy Rinaldi and William Swisher are citizens of the State of New Jersey.

See Exhibit A, p. 1-2.

        5.     Defendant FCA US is not a citizen of New Jersey. For purposes of Federal Court

diversity jurisdiction, the citizenship of a limited liability company, such as FCA US LLC, is

determined by the citizenship of each of its members. See Johnson v. Smithkline Beecham Corp., 742

F.3d 337, 348 (3d Cir. 2013); Zambelli Fireworks Mfg. Co. v. Wood, 592 F.3d 412, 420 (3d Cir.

2010). The traditional elements of corporate citizenship, the principal place of business and state of




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organization, are not proper factors in the citizenship analysis of a limited liability company. See

Johnson, 724 F.3d at 347-48 ("The principal place of business of an unincorporated entity is

therefore irrelevant to determining its citizenship”); Rice Drilling B, LLC v. Int’l Assets Advisory,

LLC, 2013 U.S. Dist. LEXIS 170304, *12 (W.D. Pa. Dec. 23, 2013) (disregarding state of

organization of a limited liability company in determining its citizenship).

       6.      Defendant FCA US is a Delaware limited liability company with its principal place of

business in Michigan, whose sole member is FCA North America Holdings LLC. FCA North

America Holdings LLC is a Delaware limited liability company with its principal place of business

in Michigan, whose sole member is FCA Foreign Sales Holdco Ltd. FCA Foreign Sales Holdco Ltd.

is incorporated under the laws of the United Kingdom and has its principal place of business in the

United Kingdom. FCA Foreign Sales Holdco Ltd. is wholly owned by SFS UK 1 Limited, which is

incorporated under the laws of the United Kingdom and has its principal place of business in the

United Kingdom. SFS UK 1 Limited is wholly owned by Stellantis, N.V. f/k/a Fiat Chrysler

Automobiles N.V., which is incorporated under the laws of the Netherlands and has its principal

place of business in the Netherlands. Under the laws of the Netherlands, Stellantis, N.V. is an

independent legal entity with separate legal standing from any of its investors or legal

representatives.

       7.      Further, Defendant FOX RENT A CAR, INC. is a California Corporation, and its

principal place of business is in Los Angeles, California. See Exhibit A.

       8.      Upon information and belief, FOX RENT A CAR, INC. has not been served;

therefore, consent to remove this case to Federal Court is not required in this matter pursuant to 28

U.S.C. § 1446(b)(2)(a) (“all defendants who have been properly joined and served must join in or




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consent to the removal of the action”). To the extent FOX RENT A CAR, INC. is served, FOX

RENT A CAR, INC. has expressed consent to the removal of this action.

       9.      In sum, Plaintiffs are citizens of New Jersey and Defendants are not citizens of New

Jersey. There is complete diversity of citizenship between Plaintiffs and Defendants.

B.     The Amount in Controversy Exceeds $75,000

       10.     Though Plaintiffs’ Complaint does not specify the exact amount of damages that they

seek, their allegations of damages exceed the jurisdictional threshold. “A defendant’s notice of

removal need include only a plausible allegation that the amount in controversy exceeds the

jurisdictional threshold.” Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81 (2014).

“No evidentiary support is required, and the Court should accept a removing defendant’s allegations

unless they are contested by the plaintiff or questioned by the Court.” Farrell v. FedEx Ground

Package Sys., Inc., 478 F.Supp.3d 536, 540 (D.N.J. 2020); see also Grace v. T.G.I. Fridays, Inc.,

2015 WL 4523639, at *3 (D.N.J. July 27, 2015) (same).

       11.     Plaintiff Nancy Rinaldi claims that she “was seriously injured in the crash and

suffered permanent injuries to her body,” resulting in neck surgery. See Exhibit A, p. 3. Plaintiff

Nancy Rinaldi further alleges sustaining “diverse personal injuries of both a permanent and

temporary nature, endured and will endure great pain, has been and will be compelled to expend

large sums of money for physicians and other help in an attempt to cure Plaintiff’s said injuries, has

been and will be compelled to expend large sums of money, has been and will be prevented from

attending to Plaintiff’s normal business and affairs, and has been otherwise damaged.” Id. at p. 7.

       12.     Given the alleged severity and permanency of Plaintiff Nancy Rinaldi’s injuries and

her claims for damages, it is facially apparent that Plaintiff is demanding an amount, exclusive of

interest and costs, in excess of the jurisdictional minimum set forth in 28 U.S.C. § 1332.




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        13.    Accordingly, this Honorable Court has original jurisdiction over the claims in the

Complaint pursuant to the provisions of 28 U.S.C. § 1332, because there is complete diversity

between the named parties and the amount in controversy exceeds $75,000.

        14.    As a result, this entire case is one which may be removed to this Court by virtue of the

provisions of 28 U.S.C. § 1441(a).

III.    TIMELINESS

        15.    This Notice of Removal is timely filed in accordance with 28 U.S.C. § 1446(b), in that

it is filed within thirty (30) days after January 25, 2022, the date FCA US LLC, received the

Complaint via certified mail and first ascertained that the matter is removable. See Fed. R. Civ. P.

6(a)(1)(B) & (C).

        16.    In accordance with 28 U.S.C. § 1446(b) this case has been on file for less than 1 year.

IV.     VENUE

        17.    Plaintiff’s action is pending in the Superior Court of New Jersey, Law Division,

Camden County, which is within this judicial district. See 28 U.S.C. § 110. Thus, this Court is the

appropriate Federal Court for removal pursuant to 28 U.S.C. § 1441(a). 2

V.      NOTICE

        18.    Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of

Removal will be given to Plaintiffs and a copy of the Notice of Removal will be filed with the Clerk

of the Superior Court of New Jersey, Law Division, Camden County.




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  By removing this action to this Court, FCA US is not admitting that this Court is the appropriate
forum for the adjudication of this action. Further, by effectuating this removal, FCA US is in no way
waiving, and hereby expressly reserves, its right to file motions, inter alia, to challenge venue, to
dismiss or to transfer this action to another jurisdiction.

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VI.    MISCELLANEOUS

       19.     A copy of all process, pleadings and orders served upon FCA US LLC in this action

are attached as Exhibit A.

VI.    CONCLUSION

       For the foregoing reasons, FCA US LLC, respectfully requests that this action, previously

pending in the Superior Court of New Jersey, Law Division, Camden County, be removed to this

Court, and that this Court proceed as if this case had been originally initiated in this Court.




                                               TANENBAUM KEALE LLP


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DATED: February _18_, 2022                            FCA US LLC




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